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                      IN THE UNITED STATES DISTRICT COURT                            n. 9 i
                         FOR THE SOUTHERN DISTRICT OF                             Ad bWll
                             GEORGIA SAVANNAH DIVISION                            .


United States of America                 Case number:
                                                                         . ., 1   3!" 8A.
V.                                       4:19-CR-66-7
Steven Cronk


               ORDER GRANTING LEAVE OF ABSENCE

       Defendant, STEVEN CRONK's counsel, JACK MORRIS DOWNIE,having filed

his Motion for Leave of Absence and having served all parties thereto;

        IT IS HEREBY ORDERED that said Motion for Leave of Absence for the following

dates: October 2-3,2019, October 11-14,2019, November 08-09,2019, December 10,2019

is GRANTED.


       This 23rd day of September, 2019.




                                                     iristopherL. Ray
                                                   United States Magsistrate Judge
                                                   Southern District of Georgia
